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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

ACKERMAN MCQUEEN, INC.                             §
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §   CIVIL ACTION NO. 3:19-CV-03016-X
                                                   §
GRANT STINCHFIELD,                                 §
                                                   §
        Defendant.                                 §

         DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO COMPEL

        Defendant Grant Stinchfield (“Stinchfield”) hereby files, through the undersigned counsel,

the instant response to Plaintiff’s Motion to Compel. Accompanying this Motion is a supporting

brief. In the supporting brief, Stinchfield sets forth AMc’s disregard of the work product doctrine.

In addition, the supporting brief sets forth that AMc has not met its burden to compel the

documents it seeks.

        WHEREFORE, for good cause shown in the submissions filed with the Court, Stinchfield

request the following relief:

         1. An order denying Plaintiff’s motion to compel; and

         2. An order awarding Defendant his reasonable attorneys’ fees and costs for the reasons

             set forth in the brief pursuant to Fed. R. Civ. P. 37(a)(5).




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October 13, 2020                             Respectfully submitted,

                                             BREWER STOREFRONT, PLLC

                                             By:     /s/ Ian Shaw__________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 13th day of

October 2020.


                                             /s/ Ian Shaw
                                             Ian Shaw




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